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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

BRIAN RANDOLPH,

   Plaintiff,

-vs-                                                 CASE NO.: 8:17-CV-816-T-23-JSS

ENCORE RECEIVABLE
MANAGEMENT, INC.,

   Defendant.
                                      /

                            NOTICE OF PENDING SETTLEMENT

       Plaintiff, Brian Randolph, by and through the undersigned counsel, hereby notifies the

Court that the parties have reached a settlement with regard to this case and are presently drafting

and finalizing the settlement agreement, and general release or documents. Upon execution of

the same, the parties will file the appropriate dismissal documents with the Court.

                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 4, 2017, I electronically filed the foregoing with the Clerk

of the Court by using the CM/ECF system and that a Notice of this filing will be sent to the

following by operation of the Court’s Electronic Filing System: Glenn S. Banner, Hinshaw &

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